
Mr. Justice Swayne
delivered the opinion of the court:
The judgment of this court in Mitchell v. The United States, (21 Wall., 353,) is decisive of this case. It is unnecessary to repeat what was there said. The subject of domicile in some of its aspects was carefully considered. We shall avail ourselves of its rulings without again ' specially referring to it. The findings of the Court of Claims furnish the facts we are to consider, and we can not look beyond them. For the purposes of this case they import absolute verity and conclude both parties.
Before the breaking'out of the late civil war the appellant was domiciled in the city of New Orleans. He was a member of a commercial partnership there. There is no proof of any change of domicile subsequently. A domicile once existing continues until another is acquired. A person cannot be without a legal domicile somewhere. Where a change of domicile is alleged, the burden of proof rests upon the party making the allegation.
The cotton covered by the claim in the present' case was all purchased by the appellant in the parish of Saint Landry, in the State of Louisiana, between the 1st of October, 1862, and the 1st of April, 1863. That territory was then within the rebel lines. The appellant was there acting as the agent of the rebel government in exchanging its bonds for Confederate notes. His office, as such agent, was at Opelousas, in that parish.
On the 26th of April, 1862, Admiral Farragut reached New Orleans with his fleet. On the following day he demanded of the mayor the surrender of the city. No resistance was offered. On the 1st of May transports conveying the troops of General Butler arrived. On the following day their landing was completed. The military occupation of the city by the United States then began, and it continued without interruption down to the close of the war. On the 6th of May the commanding general issued h proclamation, (prepared and dated on the 1st,) whereby it was declared that “ all rights of property of whatever kind will-be held inviolate, subject only to the laws of the United States.” The Non-inter course Act, July 13, 1861, (12 Stat. L., 257,) and the President’s proclamation of the 16th of August, 1861, (12 Stat. L., 1262,) of the 12th of May, 1862, (12 Stat. L., 1262,) and of the 2d of April, 1863, (13 Stat. L., 731,) need not *34be particularly adverted to. They have been so often considered by this court in previous cases that the public and the profession are familiar with them. The parish of Saint Landry was also subjugated by the arms of the United States in April, 1863. The cotton in question was thereupon seized and subsequently sold, and the proceeds paid into the Treasury of the United States, where they remain. Those proceeds are the subject of this litigation.
Upon the issuing of General Butler’s proclamation the legal status of New Orleans and its inhabitants with respect to the United States became changed. Before that time the former was enemies’ territory and the latter "were enemies, in all respects as if the pending strife had been a public war between the United States and a foreign belligerent, and the city had been a part of the country of the enemy, although the conflict was, in fact, only a domestic insurrection of large proportions. The city was blockaded, and the property of its inhabitants, wherever found at sea, was seized, condemned, and confiscated as prize of war. General Butler’s proclamation was proof of the subjugation of the city and the re-establishment of the national authority. The hostile character of the territory thereupon ceased and the process of rehabilitation began. The inhabitants were at once permitted to resume, under the regulations prescribed, their wonted commerce with other places, as if the State had not belonged to the rebel organization. (The Venice, 2 Wall., 258.) But they were clothed with new duties as well as new rights. It was a corollary from the new condition of things that they should obey the inhibition of trade with the localities still under the ban of the President’s proclamation of the 16th of August, 1861. In this respect they were on the same footing with the' inhabitants of the loyal States abiding in such States, and with the citizens of such States and foreigners then sojourning in New Orleans. It was not a penal infliction, but was intended for the benefit of the nation in the prosecution of the war. It was a burden'incident to the effort the Government was taking to put down the insurrection. It was the plain duty of the appellant to obey the injunction. Instead of doing so, while'jhis domicile, in the view of the law, was and continued to be at New Orleans, he went or remained within the rebel lines, engaged actively in the service of the *35rebel government, and was so engaged when and where, as he alleges, he acquired the ownership of the cotton in question.
His contracts for the cotton were clearly illegal and void, and gave him no title. Such has been the ruling of this court in an unbroken series of adjudications. (Coppel v. Hall, 7 Wall., 548; United States v. Lane, 8 id., 185; United States v. Grossmeyer, 9 id., 72; United States v. Montgomery, 15 id., 395; United States v. Lapine, 17 id., 602; Mitchell v. United States, 21 id., 350.)
The result is the same as if the purchases had been made by an agent of the appellant, sent by him from New Orleans, instead of having been made by himself in person.
To hold otherwise would give a premium to a law-breaker, and involve the anomaly of conceding to the offender rights and immunities denied to all the citizens of the loyal States.-
The judgment of the Cour.t of Claims is affirmed.
